                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:19-CV-00008-GCM
SCHLETTER INC.,                                   )
                                                  )
               Plaintiffs,                        )
                                                  )
   v.                                             )          ORDER
                                                  )
GAYK NORTH AMERICA INC.,                          )
                                                  )
               Defendants.                        )
                                                  )

        THIS MATTER is before the Court sua sponte upon review of the order by the United

States Bankruptcy Court, “Order Requesting Withdrawal of Reference of Contested Matter”

[Doc. No. 1] (the “Reference Order”), entered in In re Schletter, Inc., Case No. 18-40169. This

Court, having examined the Reference Order, ADOPTS and APPROVES the findings and

recommendations set forth therein. Consequently, this Court:

        WITHDRAWS the reference for the limited purpose of conducting further proceedings

solely as to the contested matter described in the Reference Order (the “Contested Matter”)

including but not limited to consideration of possible criminal contempt relief as to Gayk North

America, Inc. (“Gayk NA”) and its President, Carl Otsuki (“Mr. Otsuki”); and

        DIRECTS Gayk NA and Mr. Otsuki to appear before the Court on April 9, 2019 at 2:00

p.m. at the Charles R. Jonas Federal Building, 401 West Trade Street, Courtroom 2-2, Charlotte,

North Carolina 28202, and show cause why they should not be held in criminal contempt pursuant to

Rule 42 of the Federal Rules of Criminal Procedure for failure to comply with the Bankruptcy Court’s

Civil Contempt Order.

        The Clerk of the Court is directed to transmit this order to the Clerk of the Bankruptcy



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Court.

         SO ORDERED.



                               Signed: February 6, 2019




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